     Case 8:21-cv-00305-DOC-ADS Document 1 Filed 02/16/21 Page 1 of 16 Page ID #:1




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 7
                     IN THE UNITED STATES DISTRICT COURT
 8
 9          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
10
11
12
      MAMMOTHRX, INC., RYAN                     Civil Action File No. ____________
      HILTON, and
13    AMIR ASVADI,                              COMPLAINT SEEKING A
14                                              DECLARATORY JUDGMENT
      Plaintiffs,                               AND DAMAGES FOR BREACH
15                                              OF CONTRACT, FOR
16                     -v-                      NEGLIGENCE, AND FOR
                                                ATTORNEYS’ FEES
17
      BAM INTERNATIONAL, LLC, THE
18    MSBA GROUP, INC., and MILES
19    STEVEN BOWN.,
20    Defendants.
21
22
23          COME NOW, Plaintiffs MammothRx, Inc, Ryan Hilton, and Amir Asvadi,
24
     for their Complaint against BAM International, LLC, The MSBA Group, Inc., and
25
26   Miles Steven Bown, and allege the following:
27
28
        COMPLAINT SEEKING A DECLARATORY JUDGMENT AND DAMAGES FOR
        BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR ATTORNEYS’ FEES
                                     1
     Case 8:21-cv-00305-DOC-ADS Document 1 Filed 02/16/21 Page 2 of 16 Page ID #:2




 1                                       THE PARTIES
 2
           1.     Plaintiff MammothRx, Inc, (“Mammoth”) is a corporation organized
 3
 4   under the laws of the State of Delaware with its principal place of business in the
 5
     state of California, Orange County.
 6
 7         2.     Plaintiff Ryan Hilton (“Hilton”) is an individual who is a citizen of the

 8   state of California, Orange County.
 9
           3.     Plaintiff Amir Asvadi (“Asvadi”) is an individual who is a citizen of
10
11   the state of California, Orange County.
12
           4.     Defendant BAM International, Inc. (“BAM”) is a corporation
13
14   incorporated and having its principal place of business in the Commonwealth of
15   Pennsylvania.
16
           5.     The MSBA Group, Inc. (“MSBA”) is a corporation incorporated and
17
18   having its principal place of business in the state of Utah.
19
           6.     Miles Steven Bown (“Bown”) is a citizen of the state of Utah.
20
21                         SUBJECT MATTER JURISDICTION
22
            7.    This Court has subject matter jurisdiction of this dispute pursuant to
23
24
     28 U.S.C. § 1332(a)(1), diversity of citizenship, because the matter in controversy

25   exceeds $75,000.00 exclusive of interest and costs and is between citizens of
26
     different states. Specifically, for jurisdiction purposes, the Plaintiffs are citizens of
27
28
        COMPLAINT SEEKING A DECLARATORY JUDGMENT AND DAMAGES FOR
        BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR ATTORNEYS’ FEES
                                     2
     Case 8:21-cv-00305-DOC-ADS Document 1 Filed 02/16/21 Page 3 of 16 Page ID #:3




 1   California and Delaware, and Defendants are citizens of Pennsylvania or Utah and
 2
     thus there is complete diversity of citizenship.
 3
 4                                          VENUE
 5
           8.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2)
 6
 7   because a substantial part of the events or giving rise to the claims alleged in this

 8   Complaint occurred within this district as pleaded below; specifically, at all times
 9
     alleged in this Complaint, Plaintiffs were doing business in Orange County,
10
11   California, within this District, and Defendants made many communications to
12
     Plaintiffs received in Orange County out of which arose both the agreements
13
14   referred to below and the causes of action referred to below. Specifically, a
15   representative of BAM, acting on behalf of BAM, made approximately 100
16
     telephone calls, WhatsApp communications, text communications, or email
17
18   communications into Orange County Plaintiffs and Bown, on behalf of himself and
19
     MSBA made numerous communications of a similar kind Plaintiffs in Orange
20
21   County from which arose the claims made herein.
22
                                            FACTS
23
24
           9.     BAM is a business entity which, through its representative Thomas

25   Lovse, negotiated, communicated about, and finalized the agreements referred to
26
27
28
        COMPLAINT SEEKING A DECLARATORY JUDGMENT AND DAMAGES FOR
        BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR ATTORNEYS’ FEES
                                     3
     Case 8:21-cv-00305-DOC-ADS Document 1 Filed 02/16/21 Page 4 of 16 Page ID #:4




 1   herein, doing so by many written and oral communications to Plaintiffs in Orange
 2
     County, California.
 3
 4         10.    By a Sales and Purchase Agreement (“SPA”) effective as of
 5
     November 16, 2020, BAM agreed to purchase from a Malaysian company called
 6
 7   Universal SNT Trading, SDN BHD (“Universal”) one million boxes of medical

 8   nitrile examination gloves (produced by a Vietnamese company) for the sum of
 9
     $7,550,000. A copy of that PSA is attached to this Complaint as Exhibit 1 and
10
11   incorporated herein fully as if pleaded herein in its entirety.
12
           11.    In order to protect the purchaser, Defendant BAM, from releasing this
13
14   large purchase price to the oversees seller, Universal, unless the high-quality,
15   agreed-upon gloves had been shipped by Universal, the PSA, in paragraphs 3.2
16
     through 3.4, stated the following protective conditions, as follows:
17
18         (3.2) Two business days after funds have been received in the escrow
19         account by BAM or its agent, the seller, Universal, would allow BAM to
           arrange what is known as a Final Random Inspection of the boxes to verify
20         that the gloves are indeed ready to ship;
21
           (3.3) If that inspection confirmed the shipment was real, then within two
22
           business days of notice of the inspection result, Universal was to cause the
23         gloves to be released to BAM’s freight forwarder in Vietnam;
24
           (3.4) The release of the gloves to a freight forwarder was to be evidenced by
25         a Bill of Lading, and that release would then allow payment in full of the
26         money held in escrow by MSBA to Universal;
27
28
        COMPLAINT SEEKING A DECLARATORY JUDGMENT AND DAMAGES FOR
        BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR ATTORNEYS’ FEES
                                     4
     Case 8:21-cv-00305-DOC-ADS Document 1 Filed 02/16/21 Page 5 of 16 Page ID #:5




 1          12.    Initially, BAM and Universal had wanted a bank to insure the above-
 2
      stated protective conditions by administering those conditions under a letter of
 3
 4    credit. That letter of credit was to represent to the seller, Universal, that the
 5
      purchase price of $7,550,000 was assured and would be paid to the seller directly
 6
 7    from the bank upon proof of (i) the satisfactory inspection at the factory which

 8    made the gloves to verify the gloves as being the high-quality kind stated in the
 9
      SPA, and (ii) also upon showing receipt by the purchaser’s freight forwarder of a
10
11    bill of lading for the gloves, evidencing their shipment.
12
            13.    However, BAM thereafter determined that, because of its current
13
14    credit situation with its bank, it could not obtain a letter of credit in the short
15    amount of time specified under the SPA for delivery of the gloves, and as a result
16
      BAM determined that it would use instead an escrow agent and escrow bank
17
18    account to administer and ensure the conditions which would protect BAM and
19
      the seller in the same manner as would a letter of credit having the specifications
20
21    alleged above.
22
            14.    BAM therefore engaged the services of Defendant MSBA and its
23
24
      principal Defendant Bown to act as BAM’s escrow agent to insure the above-

25    referenced protective condition.
26
27
28
        COMPLAINT SEEKING A DECLARATORY JUDGMENT AND DAMAGES FOR
        BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR ATTORNEYS’ FEES
                                     5
     Case 8:21-cv-00305-DOC-ADS Document 1 Filed 02/16/21 Page 6 of 16 Page ID #:6




 1          15.       BAM and MSBA entered into an Escrow Agreement which is
 2
      attached as Exhibit 2 hereof and incorporated herein fully as if pleaded herein in
 3
 4    its entirety.
 5
            16.       Under that Escrow Agreement BAM appointed MSBA as BAM’s
 6
 7    agent (See Exhibi2 2, para. 1) and thereafter BAM was to and did send the full

 8    purchase price for the gloves to MSBA which deposited those funds in an account
 9
      from which, by the terms of the Escrow Agreement which adopted the protective
10
11    conditions of the SPA, they would not thereafter be released to the seller until
12
      these protective conditions had been met. As the Escrow Agreement provided:
13
14          Further to terms and conditions of the SPA [meaning the
            Universal/BAM Purchase Agreement having the conditions stated at
15          paras. 3.2 through 3.4 thereof] and pursuant to the explicit instruction
16          of the purchaser [BAM], the escrow agent shall in its name and for the
            account if the buyer [BAM] upon receipt of notice from Purchaser
17
            {BAM} that SGS Final Random Inspection has passed with
18          CONFORM results, remit the sum of 7,550,00 USD as total price to
19          seller [Universal].
20
21          17.       This language just quoted clearly adopts as obligations of BAM’s
22
     escrow agent (MSBA) the protective requirements stated in paragraphs 3.2 through
23
24
     3.4 of the Purchase Agreement (referred to above in para. 11 of this Complaint)

25   which were to have been satisfied before the funds could be released by Defendant
26
     MSBA from the account to Universal. If the funds were released and for whatever
27
28
        COMPLAINT SEEKING A DECLARATORY JUDGMENT AND DAMAGES FOR
        BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR ATTORNEYS’ FEES
                                     6
     Case 8:21-cv-00305-DOC-ADS Document 1 Filed 02/16/21 Page 7 of 16 Page ID #:7




 1   reason the gloves did not arrive, MSBA was obligated as follows, as stated in the
 2
     Escrow Agreement in para. 5:
 3
 4         In the event that the seller will not. . . deliver Gloves as per terms and
           conditions of the SPA, then upon Purchaser issuing SPA termination
 5
           notice to the seller, the Escrow Agent shall cause the Seller to return
 6         the Total Price to the bank account of the Purchaser.
 7
           18.    Plaintiff Mammoth is a corporation engaging in general business
 8
 9   activity for profit who at all times referred to herein was doing business from its
10
     offices in Orange County. Plaintiff Hilton acts as its CEO and Plaintiff Asvadi acts
11
12
     a representative of Mammoth acting on its behalf. Because Mammoth was going to

13   receive a commission on this glove sale, BAM insisted that Mammoth act a
14
     guarantor of certain of MSBA’s obligations imposed by the Escrow Agreement.
15
16   Specifically, a guaranty provision was added to the Escrow Agreement as follows
17
     as stated in para. 5 of the Escrow Agreement:
18
19         The Guarantor [Mammoth] is joint and severely liable for fulfillment of
           escrow agent’s payment obligation to refund purchaser with no regard to
20         whether funds from the seller have been refunded or not.
21
           19.    As an additional requirement of all the parties to the Escrow
22
23   Agreement, it provided that:
24
           This agreement constitutes the entire agreement between the parties.
25         This agreement may not be changed, altered, or modified except by an
26         instrument in writing signed by the party against whom enforcement
           of such change would be sought.
27
28
        COMPLAINT SEEKING A DECLARATORY JUDGMENT AND DAMAGES FOR
        BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR ATTORNEYS’ FEES
                                     7
     Case 8:21-cv-00305-DOC-ADS Document 1 Filed 02/16/21 Page 8 of 16 Page ID #:8




 1         20.     Under the Escrow agreement, MSBA was acting as the agent of the
 2
     Purchaser and Mammoth was acting as the Guarantor of one of MSBAs obligation
 3
 4   to BAM, namely the obligation to be “liable for fulfillment of escrow agent’s
 5
     payment obligation to refund purchaser” which obligation was to “cause the Seller
 6
 7   to return the Total Price to the bank account of the Purchaser.”

 8         21.     As agent for BAM, MSBA was obligated to strictly enforce the
 9
     protective conditions stated in para. 11 hereof, meaning that MSBA would not
10
11   relinquish the $7,500,500until those conditions had been met.
12
           22.     Mammoth undertook this guaranty obligation only because of the
13
14   protective conditions specified in the SPA, at paras. 3.2 through 3.4, namely, that
15   MSBA would not release the funds unless the gloves had been inspected by a
16
     neutral inspection company to assure that they were the high-quality gloves
17
18   specified in the SPA, and also unless these gloves had indeed been shipped, as
19
     evidenced by BAM’s freight forwarder having received a billing of lading so
20
21   certifying.
22
           23.     These protective conditions minimized the risk to Mammoth that its
23
24
     guaranty obligation would ever be called upon because they assured that the gloves

25   would be of the high-quality kind specified in the agreement and that they had in
26
27
28
        COMPLAINT SEEKING A DECLARATORY JUDGMENT AND DAMAGES FOR
        BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR ATTORNEYS’ FEES
                                     8
     Case 8:21-cv-00305-DOC-ADS Document 1 Filed 02/16/21 Page 9 of 16 Page ID #:9




 1   fact been shipped and thus that the purchase price was properly released to the
 2
     seller (Universal) and would not have to be returned.
 3
 4         24.    Moreover, in addition to those protective provisions, Defendant Bown
 5
     assured Mammoth that the $7,50,000 MSBA would hold as escrow agent was in an
 6
 7   “escrow” account at Chase Bank and thereby gave assurance to Mammoth that

 8   Chase would also be obligated to comply with the protective conditions before the
 9
     money was released to Universal. Indeed, Bown opened the account as an “Escrow
10
11   Account” by name, which further assured Bown’s verbal representation that Chase
12
     Bank would be assuring the protective conditions. This assurance by Bown, acting
13
14   as agent for MSBA which was agent for BAM, was false because the Chase Bank
15   account into which the money was transferred was not an escrow account in reality
16
     because the bank itself undertook no obligation to assure that any of the protective
17
18   conditions had been met before releasing the funds. Instead, it was a simple bank
19
     account from which all its funds could be withdrawn by the simple order of Bown,
20
21   without any supervision.
22
           25.    Mammoth would never have made the guaranty involved without the
23
24
     protective conditions because, without them, it would in effect be guaranteeing a

25   $7,500,000 obligation with none of the contemplated protections built into the SPA
26
     as described above and thus would be guaranteeing, without any protection or
27
28
        COMPLAINT SEEKING A DECLARATORY JUDGMENT AND DAMAGES FOR
        BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR ATTORNEYS’ FEES
                                     9
     Case 8:21-cv-00305-DOC-ADS Document 1 Filed 02/16/21 Page 10 of 16 Page ID #:10




 1    security, obligations of a foreign seller which it did not know, and which was
 2
      beyond the jurisdiction of US courts.
 3
 4           26.   The above-described Escrow Agreement was entered into as of
 5
      November 19, 2020 and BAM caused the $7,550,000 to be transferred the “Escrow
 6
 7    Account” at MSBA where it was to remain until the protective conditions had been

 8    fulfilled.
 9
             27.   Thereafter, the escrow agent released these funds to the seller without
10
11    the seller having met the required conditions specified in SPA paragraphs 3.2
12
      through 3.4, namely without any inspection report to verify that the high-quality
13
14    gloves specified in the SPA were packed and ready for shipment as required, and
15    without the bill of lading sent to BAM’s freight forwarder to assure that the Gloves
16
      had in fact been shipped to BAM.
17
18           28.   Instead of those protective requirements being fulfilled, there was a
19
      representation by MSBA by Mammoth and, upon information and belief to BAM,
20
21    that the inspection report had been completed, that it was favorable, and that if the
22
      funds were released to Universal by MSBA, that report would be released.
23
24
             29.   There was no written agreement signed by the parties authorizing that

25    change, a very substantial change, in the Escrow Agreement, despite the
26
27
28
         COMPLAINT SEEKING A DECLARATORY JUDGMENT AND DAMAGES FOR
         BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR ATTORNEYS’ FEES
                                     10
     Case 8:21-cv-00305-DOC-ADS Document 1 Filed 02/16/21 Page 11 of 16 Page ID #:11




 1    requirement of para. 12.6 of that Agreement that any such change must be made in
 2
      a writing signed by all parties.
 3
 4          30.      Notwithstanding that there was no writing confirming these
 5
      substantial changes which completely eliminated the protective conditions on
 6
 7    which Mammoth was relying, the funds were thereafter released to Universal by

 8    MSBA. There were no gloves, no inspection report, and no Bill of Lading, nor any
 9
      forwarding of the gloves to the freight forwarder, all as specified in paragraphs 3.2
10
11    through 3.4.
12
            31.      By releasing the funds in these circumstances, MSBA breached its
13
14    obligations under the Escrow Agreement including its obligations to Mammoth
15    requiring the protective conditions to have been satisfied before releasing the funds
16
      and Defendant Bown participated in that breach by personally causing these funds
17
18    to be released from the bank account holding the funds without the protective
19
      conditions having been met and by failing to place them in a true escrow account
20
21    which would have then required Chase Bank to have been responsible for assuring
22
      that the protective conditions had been met and, instead, by opening a regular
23
24
      account which, although he called it an escrow account, allowed him as the only

25    signatory on the account to send the funds in the account to the seller without any
26
27
28
         COMPLAINT SEEKING A DECLARATORY JUDGMENT AND DAMAGES FOR
         BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR ATTORNEYS’ FEES
                                     11
     Case 8:21-cv-00305-DOC-ADS Document 1 Filed 02/16/21 Page 12 of 16 Page ID #:12




 1    bank supervision which Bown did even though none of the protective conditions
 2
      had been met.
 3
 4          32.    Universal has not returned the $7,500,000 that Bown sent or any part
 5
      of that sum to BAM.
 6
 7          33.    BAM has demanded that Plaintiff Mammoth repay that sum, invoking

 8    the guaranty stated in the escrow agreement and has invoked that guaranty against
 9
      not only Mammoth, but also against both Plaintiffs Hilton and Asvadi declaring
10
11    that they are both liable to repay that sum of money despite the fact that neither of
12
      them were signatories to the Escrow Agreement in their personal capacities
13
14    containing that guaranty.
15          34.    All three Plaintiffs, Mammoth, Hilton and Asvadi, have denied any
16
      liability under that guaranty clause in the Escrow agreement.
17
18                                         COUNT I
19
                              (Seeking a Declaratory Judgment)
20
21          35.    Plaintiffs reallege and incorporate by reference herein all of the
22
      allegations set forth above.
23
24
            36.    There is exists a present, ripe and thus justiciable controversy between

25    Plaintiffs and Defendant BAM.
26
27
28
         COMPLAINT SEEKING A DECLARATORY JUDGMENT AND DAMAGES FOR
         BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR ATTORNEYS’ FEES
                                     12
     Case 8:21-cv-00305-DOC-ADS Document 1 Filed 02/16/21 Page 13 of 16 Page ID #:13




 1          37.     All Plaintiffs contend that they are not liable to BAM under the
 2
      guarantee because MSBA, acting as agent for BAM, failed to assure that the
 3
 4    protective provisions in the Escrow Agreement had been complied with before
 5
      releasing the $7,500,000, abandoned those protective conditions without a signed
 6
 7    writing by all the parties to that agreement allowing those modification as required

 8    by that agreement, and also failed to set up a proper escrow account as Bown
 9
      represented that he would open, but nonetheless paid the $750,000 to Universal.
10
11          38.     Plaintiffs Hilton and Asvadi, as a separate basis, contend that in
12
      addition to the failures of MSBA described above, they are not liable on the
13
14    guaranty because they did not sign the Escrow Agreement containing that guaranty
15    in their individual capacities and therefore are not bound by any obligations
16
      contained in that agreement, including the guaranty provision.
17
18          39.     Defendant BAM on the other hand contends that the Plaintiffs are
19
      each bound by the guaranty provisions of the Escrow Agreement contending that
20
21    despite any contentions of the Plaintiffs, they are all by their conduct bound by the
22
      Agreement.\
23
24
            40.     In light of this controversy Plaintiffs respectfully seek to have this

25    Court declare the rights of the parties to this controversy and specifically declare
26
27
28
         COMPLAINT SEEKING A DECLARATORY JUDGMENT AND DAMAGES FOR
         BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR ATTORNEYS’ FEES
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     Case 8:21-cv-00305-DOC-ADS Document 1 Filed 02/16/21 Page 14 of 16 Page ID #:14




 1    that none of the Plaintiffs are obligated to BAM under the guaranty provisions
 2
      stated in the Escrow Agreement.
 3
 4                                         COUNT II
 5
                                (Breach of Contract by MSBA)
 6
 7          41.    Plaintiffs reallege and incorporate by reference herein all of the

 8    allegations set forth above.
 9
            42.    By failing to comply with the protective provisions stated in the SPA
10
11    and adopted by reference in the Escrow Agreement, MSBA breached its obligation
12
      to do so and is liable for those damages in the amount to be proved at trial.
13
14                                        COUNT III
15           (Negligent Representation Against Defendants MSBA and Bown)
16
            43.    Plaintiffs reallege and incorporate by reference herein all of the
17
18    allegations set forth above.
19
            44.    By undertaking to comply with the protective provisions guaranteed
20
21    by the Escrow Agreement, both MSBA and Bown assumed a duty to do so with
22
      due care and this duty was owed to Mammoth.
23
24
            45.    MSBA and Bown breached that duty by failing to assure compliance

25    with the protective provisions and by allowing $7,500,000 to be sent to Universal
26
27
28
         COMPLAINT SEEKING A DECLARATORY JUDGMENT AND DAMAGES FOR
         BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR ATTORNEYS’ FEES
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     Case 8:21-cv-00305-DOC-ADS Document 1 Filed 02/16/21 Page 15 of 16 Page ID #:15




 1    without any of those protections and by also failing to open a proper escrow
 2
      account as Bown had represented that he had opened.
 3
 4             46.      This breach of duty was negligence because it was foreseeable that
 5
      without the protective provisions that should have been assured before the money
 6
 7    was sent to Universal, that money would be sent when the gloves were not in fact

 8    shipped.
 9
               47.      As a proximate result of this negligence the gloves were not shipped,
10
11    and that negligence has damaged Plaintiff Mammoth in an amount to be proved at
12
      trial.
13
14             48.      BAM is likewise liable for those damages because it had appointed
15    MSBA as its agent and is therefore liable as MSBA’s principal under the doctrine
16
      of respondeat superior.
17
18             WHEREFORE, Plaintiffs respectfully request that the Court grant the
19
      Plaintiffs the following relief:
20
21                   a. That this Court declare and adjudge under COUNT I that none of the
22
                     Plaintiffs are obligated to BAM under the guaranty provisions stated in
23
24
                     the Escrow Agreement.

25                   b. That this Court award under COUNTS II and III compensatory
26
                     damages in the amount to be proven at trial;
27
28
         COMPLAINT SEEKING A DECLARATORY JUDGMENT AND DAMAGES FOR
         BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR ATTORNEYS’ FEES
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     Case 8:21-cv-00305-DOC-ADS Document 1 Filed 02/16/21 Page 16 of 16 Page ID #:16




 1             c. That this Court award attorneys’ fees and costs of suit as provided for
 2
               in the Escrow Agreement; and
 3
 4             d. For such other relief as this Court deems just and proper.
 5
                             DEMAND FOR TRIAL BY JURY
 6
 7          Plaintiffs hereby demand a trial by jury on all issues so triable pursuant to

 8    Rule 38(b) of the Federal Rules of Civil Procedure.
 9
            Respectfully submitted this 16th day of February 2021.
10
11                                           By Counsel,
12
                                             /s/ John J.E. Markham, II
13                                           John J.E. Markham, II
14                                           (California Bar No. 69623)
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         COMPLAINT SEEKING A DECLARATORY JUDGMENT AND DAMAGES FOR
         BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR ATTORNEYS’ FEES
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